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                          UNITED STATES DISTRICT COURT
                      IN AND FOR THE DISTRICT OF NEW JERSEY
                                NEWARK VICINAGE

Plaintiff(s)

WILLIAM Y. JIMENEZ

               vs.                                          Civil Action No:
Defendant(s)
LTD FINANCIAL SERVICES, LP,
ADVANTAGE ASSETS II, INC.,
and ABC CORP I-V
(Fictitious Companies)
                                                    COMPLAINT AND JURY DEMAND


                      COMPLAINT AND DEMAND FOR JURY TRIAL

      William Y. Jimenez, Plaintiff in the above entitled and captioned matter, by way of
Complaint against the Defendants respectfully demand Judgment of this Honorable Court against
each Defendant, as follows:

                                      INTRODUCTION


        1.     This is an action for damages against all Defendants for violations of the Fair
               Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter "FDCPA").
               Plaintiff seeks actual damages, statutory damages, punitive damages, costs and
               attorney’s fees pursuant to the FDCPA.


                                JURISDICTION AND VENUE

        2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k (d), 15 U.S.C. § 1681p
               (d), 28 U.S.C. § 1337, 28 U.S.C. § 1332. Declaratory relief is available pursuant
               to 28 U.S.C. § 2201 and 2202. Venue in this District is proper in that the conduct
               complained of occurred here and the Plaintiff resides here. 28 U.S.C. § 1391.


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                                           PARTIES

    3.      Plaintiff, William Y. Jimenez, is a natural person residing in Union City, Hudson
            County, New Jersey.

    4.      Defendants, LTD Financial Services, LP, Advantage Assets II, Inc., and/or ABC
            Corp. I-V business entities engaged in the business of collecting debts in this
            state.

    5.      Defendants LTD Financial Services, LP., Advantage Assets II, Inc., and/or ABC
            Corp. I-V are "debt collectors" as defined by the FDCPA, 15 U.S.C. § 1692a (6).

    6.      Defendant, LTD Financial Services, LP is a Texas company doing business in
            New Jersey. Advantage Assets II, Inc. is a Texas company doing business in New
            Jersey. ABC Corp. I-V are business entities engaged in the business of collecting
            debts in this state.

                            REQUEST FOR TRIAL BY JURY

    7.      Plaintiff requests a trial by jury.

               REQUEST FOR EXEMPLARY/PUNITIVE DAMAGES

    8.      Plaintiff respectfully requests that this Court instruct the jury, as the trier of facts,
            that in addition to actual, statutory and/or compensatory damages, punitive or
            exemplary damages may be awarded against the Defendants under the provisions
            of the FDCPA .

          REQUEST FOR COSTS OF LITIGATION AND ATTORNEY FEES

    9.      Plaintiff respectfully requests that this Court award Plaintiff litigation expenses
            and other costs of litigation and reasonable attorney fees incurred in this litigation,
            in accordance with the provisions of the FDCPA.


                               GENERAL FACTUAL BASIS

    10.     Defendants LTD Financial Services, LP, Advantage Assets II, Inc. and/or ABC
            Corp I-V wrongfully attempted to collect a debt which was discharged in
            bankruptcy by sending collection letters to the plaintiff’s place of residence On



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          January 14, 2015, alleging that this debt was due and owing in violation of the
          FDCPA.

    11.   As a result of Defendants’ action, Plaintiff has sustained economic, noneconomic
          and statutory damages including but not limited to denials of credit, decreased
          credit score, increased interest rates and emotional distress.

    12.   Plaintiff is a "consumer" as defined by the FDCPA.

    13.   Defendants LTD Financial Services, LP, Advantage Assets II, Inc. and/or ABC
          Corp I-V (fictitious companies) are debt collectors collecting debts in the State of
          New Jersey as defined by the FDCPA.

    14.   All conditions precedent to the bringing of this action have been performed,
          waived or excused.


                VIOLATION OF THE FDCPA BY DEFENDANTS
                         LTD Financial Services, LP
                  Advantage Assets II, Inc. and ABC Corp I-V

    15.   Plaintiff repeats and realleges and incorporates by reference paragraphs 1 through
          14 above.

    16.   Defendants violated the FDCPA. Defendants' violations include, but are not
          limited to, the following:

          (a)    The Defendants violated 15 U.S.C. § 1692e(2)(a) by misrepresenting the
                 amount, character and status of a debt.

          (b)    The Defendants violated 15 U.S.C. § 1692e(8) by communicating credit
                 information which Defendant knew or should have known was false.

          (c)    The Defendants violated 15 U.S.C. § 1692f by attempting to collect a debt
                 which Plaintiff did not owe.

          (d)    The Defendants violated 15 U.S.C. § 1692e(11) and (g)(a) by failing to
                 disclose in the initial communication the language required under the Act.

          (e)    The Defendants violated 15 U.S.C. § 1692d by engaging in conduct with
                 the intent to abuse or harass Plaintiff.




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              (h)      The Defendants violated 15 U.S.C. § 1692e(5) by threatening to take
                       actions which could not legally be taken.

       17.    As a result of the above violations of the FDCPA, the Defendants LTD Financial
              Services, LP., Advantage Assets II, Inc., and/or ABC Corp I-V are liable to the
              Plaintiff for declaratory judgment that their conduct violated the FDCPA, and
              Plaintiff's actual damages, statutory damages, punitive damages and costs and
              attorney's fees.

        WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
Defendants LTD Financial Services, LP, Advantage Assets II, Inc., and ABC Corp I-V for
declaratory judgment that defendants' conduct violated the FDCPA, and declaratory and
injunctive relief for such; actual damages; statutory damages pursuant to 15 U.S.C. § 1692k;
punitive damages; costs and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k, and for
such other and further relief as may be just and proper.



                                     GREENBERG MINASIAN, LLC
                                     Attorneys for the Plaintiff


Date: April 24, 2015          /s/William S. Greenberg
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